
PER CURIAM.
J.D. appeals his juvenile delinquency adjudication for possession of cocaine and possession of marijuana. We affirm the adjudication, but reverse the disposition order.
The trial court erred in imposing community control for an indeterminate period for the offense of possession of marijuana. On remand, the term must be limited to one year, the maximum adult sentence for that offense. See C.P. v. State, 674 So.2d 183 (Fla. 2d DCA 1996). The court also erred in entering a single disposition order for the multiple adjudications. See D.A.D. v. State, 697 So.2d 234 (Fla. 5th DCA 1997).
Accordingly, we reverse the disposition order entered and remand to the trial court with directions to enter new disposition orders consistent with this opinion.
Reversed and remanded.
FULMER, A.C.J., and WHATLEY and GREEN, JJ., Concur.
